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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

 v.                                         Crim. Action No. 21CR40(TNM)

 DAVID LEE JUDD,

                     Defendant.



                                  MR. JUDD’S NOTICE
      David Judd, through undersigned counsel, hereby notices the Court and the

government that, without waiving the arguments in his Motion to Dismiss Count

Thirty-Five (Civil Disorder), ECF No. 254, he will not file a Reply to the Government’s

Opposition.

                                              Respectfully Submitted,

                                              A.J. KRAMER
                                              FEDERAL PUBLIC DEFENDER


                                              ______/s/____________________
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                                              ______/s/____________________
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